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  SACV 17-01978 JVS(KESx): UZBL, LLC v. Devicewear, LLC, et al.



        Jury Trial                          August 20, 2019 at 8:30 a.m.
               File Findings of Fact and Conclusions of Law by August 12, 2019

        Final PreTrial Conference              August 5, 2019 at 11:00 a.m.
                File PreTrial Documents not later than July 29, 2019
                File motions in limine not later than July 8, 2019

        Discovery Cut-off                     March 14, 2019

        Expert Discovery Cut-off               May 13, 2019
                Initial disclosure of Experts not later than March 18, 2019
                Rebuttal disclosure of Experts not later than April 1, 2019

        Law and Motion Cut-off              July 1, 2019 at 1:30 p.m.
               Motions to be filed and served not later than June 3, 2019
